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Taly Goody, Esq.                           T. Michael Morgan, Esq*
Wyoming Bar No.: 8-6737                    Florida Bar No.: 062229
Greyson M. Goody, Esq.                     Rudwin Ayala, Esq*
GOODY LAW GROUP                            Florida Bar No.: 84005
58 Malaga Cove Plaza                       MORGAN & MORGAN, P.A
Palos Verdes Estates, CA 90274             20 N. Orange Ave, Suite 1600
Telephone: (310) 893-1983                  Orlando, FL 32801
Email: taly@GoodyLawGroup.com              Telephone: (407) 420-1414
      greyson@GoodyLawGroup.com            Email: mmorgan@forthepeople.com
Attorneys for Plaintiffs                          rayala@forthepeople.com
                                           * Pro Hac Vice Attorneys for Plaintiffs



                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF WYOMING


 STEPHANIE WADSWORTH,
 Individually and as Parent and Legal
 Guardian of W.W., K.W., G.W., and
 L.W., minor children, and                 Case No.: 2:23-cv-00118-KHR
 MATTHEW WADSWORTH,


                  Plaintiffs,              JURY TRIAL DEMANDED

             v.
 WALMART, INC. and JETSON
 ELECTRIC BIKES, LLC,


            Defendants.



             PARTIES’ JOINT MOTION FOR PERMISSION
             TO BRING TANGIBLE EVIDENCE TO TRIAL

     The Parties move for an order from the Court granting their attorneys

permission to enter the courthouse and pass security screening with the items



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enumerated below for the trial of this case scheduled to begin on March 3, 2025.

Pursuant to Local Rule 7.1(b)(1)(A), the Parties have met and conferred on this issue.

Each Party maintains and preserves their objections to the use of any of these items

at trial. This does not serve as a stipulation for the evidence to be used at trial, only

for it to be allowed to pass through security. The items shall be brought in through

security outside the presence or vision of the jury and shall be stored outside of the

courtroom until a ruling on their use as demonstratives is provided by the Court.

Plaintiffs’ proposed items are as follows:

          1. The hoverboard that is the subject of this case;

          2. Exemplar hoverboards containing lithium-ion battery packs;

          3. Exemplar lithium-ion battery packs;

          4. Cigarette packs containing cigarettes;

          5. Cigarette lighters; and

          6. Manual and/or electric screw drivers to disassemble the exemplar

             hoverboards.

Defendants proposed items are as follows:

              1. Exemplar hoverboard containing lithium ion battery pack.

The Parties jointly file this motion and respectfully request permission to bring

the above items into the courthouse and pass through security consistent with

the above requirements.



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Date: February 21, 2025        Respectfully Submitted,

                                /s/ T. Michael Morgan, Esq.
                               T. Michael Morgan, Esq.*
                               Florida Bar No.: 062229
                               Rudwin Ayala, Esq.*
                               Florida Bar No.: 84005
                               MORGAN & MORGAN, P.A
                               20 N. Orange Ave., Suite 1600
                               Orlando, FL 32801
                               Telephone: (407) 420-1414
                               Emails: mmorgan@forthepeople.com
                               Secondary email:
                               akelseyflowers@forthepeople.com

                               *Admitted Pro Hac Vice

                               TALY GOODY, ESQ.
                               Wyoming Bar No.: 8-6737
                               GREYSON M. GOODY, ESQ.
                               GOODY LAW GROUP
                               58 Malaga Cove Plaza
                               Palos Verdes Estates, CA 90274
                               Telephone: (310) 893-1983
                               Emails: taly@GoodyLawGroup.com
                                       greyson@GoodyLawGroup.com
                               Local Counsel




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                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 21, 2025, a true and correct copy of
the foregoing was electronically served to all counsel of record.

Counsel for Defendants:

Eugene M. LaFlamme – elaflamme@MLLlaw.com
Jared B. Giroux – jguiroux@MLLlaw.com
Jillian L. Lukens – jlukens@MLLlaw.com
Brandon Pryde - bpryde@crowleyfleck.com
Timothy Stubson - tstubson@crowleyfleck.com
Holly Tysse - htysse@crowleyfleck.com
Christopher Voigt - cvoigt@crowleyfleck.com




                                    /s/ T. Michael Morgan, Esq.
                                     T. Michael Morgan, ESQ.*
                                     MORGAN & MORGAN, P.A
                                     Florida Bar No.: 062229
                                     *Admitted Pro Hac Vice




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